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lN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

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USJUN~B PM c.; ,5

 

UNITED STATES OF AMERICA,
Plaintiff,

v.

ANTHONY RICHARDSON,

Defendant.

`_,~_»~_/~._/~__,~__,`__,`__/~_/~_/

NO. 04-20059 Ml

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ORDER GRANTING DEFENDANT’S MOTION TO WITHDRAW PLEA OF GUILTY

 

For the reaeone Stated in open court during the hearing on

Defendant’e Motion to Withdraw Guilty Plea, Defendant’e motion is

GRANTED and Defendant’e guilty plea is hereby WITHDRAWN.

ThiS case is Set for trial on the Auguet, 2005, Rotation

Calendar with a final report date on Fridav, JulV 22,

9:00 a.m.

SO ORDERED THIS §§ DAY OF June, 2005.

2005, at

 

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 76 in
case 2:04-CR-20059 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

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Honorable J on McCalla
US DISTRICT COURT

